Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 1 of 16 Page ID
                                 #:79925
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 2 of 16 Page ID
                                 #:79926
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 3 of 16 Page ID
                                 #:79927
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 4 of 16 Page ID
                                 #:79928
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 5 of 16 Page ID
                                 #:79929
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 6 of 16 Page ID
                                 #:79930
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 7 of 16 Page ID
                                 #:79931
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 8 of 16 Page ID
                                 #:79932
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 9 of 16 Page ID
                                 #:79933
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 10 of 16 Page ID
                                  #:79934
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 11 of 16 Page ID
                                  #:79935
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 12 of 16 Page ID
                                  #:79936
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 13 of 16 Page ID
                                  #:79937
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 14 of 16 Page ID
                                  #:79938
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 15 of 16 Page ID
                                  #:79939
Case 2:04-cv-09049-DOC-RNB Document 3833-6 Filed 05/28/08 Page 16 of 16 Page ID
                                  #:79940
